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 1                                  UNITED STATES DISTRICT COURT
 2                                          DISTRICT OF NEVADA
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 4
      IN RE: WILLIE N. MOON and
 5    ADNETTE M. GUNNELS-MOON
      ___________________________________
 6                                                          ORDER CONSOLIDATING CASES
      RUSHMORE LOAN MANAGEMENT
 7    SERVICES, LLC,
 8                             Appellant,
 9           v.                                                   Case No. 2:22-cv-01126-APG
10    ADNETTE M. GUNNELS-MOON and US
      TRUSTEE,
11
                               Appellees
12
      ___________________________________
13    RUSMORE LOAN MANAGEMENTS
      ERVICES, LLC,                                                Case No. 2:22-cv-01155-ART
14                      Appellant,
          v.
15
      ADNETTE M. GUNNELS-MOON, WILLIE
16    N. MOON, and US TRUSTEE,
17                             Appellees
18

19           Appellant Rushmore Loan Management Services, LLP filed a motion to consolidate these two

20   cases. See Case No. 2:22-cv-01126-APG, ECF No. 12. Courts may consolidate actions that involve

21   common questions of law or fact. Fed. R. Civ. P. 42(a). The court has broad discretion over whether

22   to consolidate, and in doing so “weighs the saving of time and effort consolidation would produce

23   against any inconvenience, delay, or expense that it would cause.” Huene v. United States, 743 F.2d

24   703, 704 (9th Cir. 1984). Judges Gordon and Traum find that consolidation of these actions would

25   aid in the efficient disposition of both.

26           IT IS THEREFORE ORDERED that the Appellant’s motion to consolidate (ECF No. 12)
27   in 2:22-cv-01126-APG is GRANTED. Case No. 2:22-cv-01126-APG and Case No. 2:22-cv-
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        Case 2:22-cv-01126-APG Document 16 Filed 09/16/22 Page 2 of 2




 1   01155-ART are consolidated, with Case No. 2:22-cv-01126-APG serving as the lead case. All

 2   further filings in these cases shall be filed in the lead case.

 3           IT IS FURTHER ORDERED that Case No. 2:22-cv-01155 is reassigned to Judge Andrew

 4   Gordon for all further proceedings.

 5           DATED this 16th day of September, 2022.

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 8           ANNE R. TRAUM                                   ANDREW P. GORDON
             UNITED STATES DISTRICT JUDGE                    UNITED STATES DISTRICT JUDGE
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